Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 1 of 18




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

                            CASE NO.: 1:22-cv-21004-MD

  JESSICA GUASTO,

        Plaintiff,

  vs.

  THE CITY OF MIAMI BEACH, FL,
  a Florida municipality,

        Defendant.
  ________________________________________________/

                        DEFENDANT’S LOCAL RULE 56.1(a)(1)
                  STATEMENT OF MATERIAL FACTS IN SUPPORT
                OF ITS FULLY DISPOSITIVE MOTION FOR SUMMARY
             JUDGMENT AND INCORPORATED MEMORANDUM OF LAW




                                        1
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 2 of 18




                   MATERIAL FACTS PURSUANT TO LOCAL RULE 56.1(a)(1)

           1.       The City is committed to equal employment opportunity and does not make

  employment decisions for any factors that are not job-related. A copy of the City’s Employee

  Handbook, which includes the City’s policy of equal employment, is attached at Exhibit 1. See

  Exh. 1, p. 16, Bates No. City 001105.

           2.        The City’s policy of equality and opportunity applies to all organizational levels

  of the City and to all job classifications. See id.

           3.       Plaintiff’s acknowledgement of receipt of the Handbook, which also contains her

  Report to Work date, is attached at Exhibit 2.

           4.       The City’s anti-discrimination/retaliation policy is reiterated in its Personnel

  Rules, which are attached as Exhibit 3. See Exh. 3; Rule I § 3(a); Bates No. City 001021.

           5.       On or about January 27, 2012, the City hired Plaintiff for the position of Police

  Officer. Plaintiff’s New-Hire Paperwork is attached at Exhibit 4. See Exh. 4, Bates Nos. City

  000856 – 000857.

  Plaintiff’s 2018 EEOC Charge and Settlement Agreement

           6.       On August 31, 2018, Plaintiff filed a Charge of Discrimination (“2018 Charge”)

  with the EEOC alleging gender discrimination.1. The 2018 Charge makes no mention of sexual

  harassment or any issues between Plaintiff and then Sergeant, now Lieutenant Steven Cosner

  (“Lieutenant Cosner”).2 See Exh. 5, Bates No. City 001225; Exh. 6, Cosner TR:9:10-25.

           7.        On September 13, 2019, Plaintiff entered into a Settlement Agreement (the

  “First Settlement Agreement”) with the City, releasing all claims against the City from the

  1
            The 2018 Charge is attached as Exhibit 5.
  2
            A copy of the deposition transcript of Lieutenant Cosner is attached as Exhibit 6. In citing to deposition
  transcripts generally, the City uses the citation format “TR:_:_.” The “TR” refers to “transcript,” the first number(s)
  after the TR refers to the page number(s) of the transcript and the second number(s) refers to the line number(s) of
  the transcript. Additionally, the City identifies the specific deponent by using their last name before the “TR.”

                                                            2
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 3 of 18




  beginning of the world through the date of the First Settlement Agreement, and agreeing to

  dismiss the 2018 Charge. A copy of the First Settlement Agreement is attached as Exhibit 7. See

  Exh. 7, Bates Nos. City 001227 – 001230.

         8.      The Chief of Police at the time of the First Settlement Agreement was Richard

  Clements (“Chief Clements”) and the FOP President at the time of the First Settlement

  Agreement was Kevin Millan (“President Millan”). See Exh. 7, Bates No. City 001229 – 001230.

  The 2020 Internal Affairs Investigation

         9.      On April 23, 2020, Internal Affairs (“IA”) at the City of Miami Beach received an

  Allegation of Employee of Misconduct regarding Plaintiff. A copy of the Declaration of

  Commander A.J. Prieto and its Exhibits is attached as Exhibit 8. See Exh. 8, ¶¶ 13, 36-37; see

  also Exh. B to Exh. 8, Bates No. City 001573.

         10.     On May 4, 2020, Plaintiff was notified that she was under investigation by IA in

  IA Case No. 2020-010 (the “IA Case”). See Exh. 8, ¶ 14; see also Exh. B to Exh. 8, Bates No.

  City 001575.

         11.     Lieutenant Cosner was not involved in the IA Case. See Exh. 8, ¶ 31; see also

  Exh. B to Exh. 8, Bates Nos. City 001572 – 001673; see also Exh. 6, Cosner TR:147:1-3.

  Plaintiff’s 2020 EEOC Charge of Discrimination

         12.     On July 13, 2020, Plaintiff filed her second EEOC Charge, EEOC Charge No.

  510-2020-04794 (“2020 Charge”). The 2020 Charge is attached as Exhibit 9, Bates Nos. City

  001232 – 001233.

         13.     The IA Case came before the 2020 Charge. See Exh. 8, ¶ 30; see also Exh. B to

  Exh. 8, Bates Nos. City 001572 – 001673; compare Exh. 9.

         14.     The 2020 Charge does not mention Lieutenant Cosner. See Exh. 9.



                                                  3
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 4 of 18




  The November 2020 Meeting

          15.      On November 2, 2020, there was a confidential settlement meeting between

  Plaintiff, the Fraternal Order of Police, Lodge 8 (“FOP”) and the City (the “November

  Meeting”). See Exh. 8, ¶¶ 16-17;3 see also Exh. 10 ¶¶ 15-16; Exh. 11 ¶¶ 18-19; Exh. 12, Pancier

  TR:9-11:15-3; Exh. 13, Gibbons TR:12-14:13-1; 17:15-23; Exh. 14, Millan TR:25-27:12-9.

          16.      During the November Meeting, Plaintiff was represented by two lawyers: (1)

  Michael Pancier, Esq.; and (2) Eugene Gibbons, Esq. Additionally, Plaintiff was represented by

  then-FOP President, Kevin Millan. See Exh. 8, ¶ 21; Exh. 10 ¶ 20; Exh. 11 ¶ 23; Exh. 12, Pancier

  TR:9-10:15-9; Exh. 13, Gibbons TR:10-14:7-1; Exh. 14, Millan TR:25-27:1-9; 30:1-6.

          17.       The purpose of the November Meeting was to try and settle the IA Case and the

  2020 Charge. See Exh. 8, ¶ 20; Exh. 10 ¶ 19; Exh. 11 ¶ 22; Exh. 12, Pancier TR:13-15:5-10 (see

  also Exh. 3 to Pancier Dep., Exh. 12); Exh. 13, Gibbons TR:12-13:13-9; Exh. 14, Millan TR:25-

  26:12-20.

          18.      The November Meeting was not a subject officer interview pursuant to Florida

  Statute § 112.532, and Plaintiff was never questioned during the November Meeting. See Exh. 8,

  ¶¶ 22-25; Exh. 10, ¶¶ 21-24; Exh. 11, ¶¶ 24-27; Exh. 12, Pancier TR:11-12:4-22 (“No, there was

  no questioning”); Exh. 13, Gibbons TR:17-21:15-15; Exh. 14, Millan TR:27-28:18-7.

          19.      At no point during the November Meeting did any one of Plaintiff’s two

  attorney’s or Mr. Millan, the FOP President, object that the City was violating Florida Statute §

  112.532 or invoke the provisions of Florida Statute § 112.534. See Exh. 8, ¶¶ 32-33; Exh. 10, ¶¶




  3
            Attached as Exhibit 10 is the Declaration of former Human Resources Director, Michael Smith. Attached
  as Exhibit 11 is the Declaration of current Chief of Police, Wayne Jones. Attached as Exhibit 12 is deposition
  transcript of Plaintiff’s former counsel Michael Pancier, Esq. Attached as Exhibit 13 is the deposition transcript of
  Plaintiff’s former counsel, and FOP counsel Eugene Gibbons, Esq. Attached as Exhibit 14 is the deposition
  transcript of then-FOP President, Kevin Millan.

                                                           4
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 5 of 18




  25-26; Exh. 11, ¶¶ 28-29; Exh. 12, Pancier TR:11-12:4-22; Exh. 13, Gibbons TR:21:9-22; Exh.

  14, Millan TR:27-28:25-7; Exh. 17, Plaint. Vol. I TR:113-114:22-19.

         20.     During the November Meeting, the City showed Plaintiff, her two lawyers and the

  FOP President a power point presentation (the “November Meeting Power Point”). See Exh. 8, ¶

  26, see also Exh. A to Exh. 8, Bates Nos. City 001767 – 001882; Exh. 12, Pancier TR:11-12:25-

  8.

         21.     The November Meeting Power Point shows that Plaintiff, and then-boyfriend

  Police Office Nicholas Guasto (“N. Guasto”), were, among other things, radioing into the City

  that they were within the City limits and on duty, when they were outside City limits. See Exh. 8,

  ¶ 28, see also Exh. A to Exh. 8, Bates Nos. City 001813 – 001815.

         22.     The November Meeting Power Point further details all the instances when

  Plaintiff and N. Guasto claimed to be on duty and within City limits when they were outside of

  the City, effectively stealing time from the City. See Exh. 8, ¶ 29, see also Exh. A to Exh. 8,

  Bates Nos. City 001767 – 001882.

         23.     After the November Meeting, Settlement discussions between the City’s outside

  counsel and Plaintiff’s two attorneys continued. See Exh. 8, ¶ 35; Exh. 10, ¶ 28; Exh. 11, ¶ 31;

  Exh. 12, Pancier TR:18-19:24-13; Exh. 14, Millan TR:28-30:23-6.

  The Settlement Agreement and the Last Chance Agreement

         24.     On or about December 18, 2023, Plaintiff, the FOP, and the City entered into a

  Settlement Agreement and a Last Chance Agreement. A copy of the Settlement Agreement and

  the Last Chance Agreement are attached as Exhibit 15, Bates Nos. City 001235 – 001238;

  001240 – 001246; 001248. As part of the Last Chance Agreement, Plaintiff executed an

  Irrevocable Letter of Resignation (“Resignation”). See Exh. 15, Bates Nos. City 001248.



                                                  5
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 6 of 18




         25.     In entering into the Settlement Agreement and the Last Chance Agreement,

  Plaintiff was represented by two (2) lawyers and the FOP President.4 See Exh. 8, ¶¶ 38-42; Exh.

  10, ¶¶ 29-34; Exh. 11, ¶¶ 32-36; Exh. 12, Pancier TR:7-9:8-14 (see Exh. 2 to Exh. 12); Exh. 13,

  Gibbons TR:10-12:5-12 (see Exh. 1 to Exh. 13); Exh. 14, Millan TR:30-31:7-12; 36-38:6-24;

  Exh. 16, Clements TR:130-131:25-24; 143:14-20.

         26.     Plaintiff voluntarily entered into the Settlement Agreement and the Last Chance

  Agreement. The City did not “put” Plaintiff on the Last Chance Agreement or force her to sign

  anything. See Exh. 8, ¶¶ 40-42; Exh. 10, ¶¶ 32-34; Exh. 11, ¶¶ 34-36; Exh. 12, Pancier TR:19:5-

  18; Exh. 13, Gibbons TR:12:3-12; Exh. 14, Millan TR:38:11-24; Exh. 16:131:2-24.

         27.     The Last Chance Agreement made Plaintiff an employee at will. See DE 1, ¶ 27,

  41; DE 32, p. 4; Exh. 8 ¶ 43; Exh. 10, ¶ 35; Exh. 11, ¶ 37.

         28.      As part of the Settlement Agreement, the City did not pay any money to Plaintiff.

  Plaintiff accepted a one hundred and sixty (160) hour suspension, and among other things, paid

  the City Three Thousand Five Hundred Thirty-One Dollars and 20/100 ($3,531.20). See Exh. 15,

  Bates Nos. City 001235 – 001236, § 2.a-b.

         29.     As part of the Last Chance Agreement, Plaintiff “admits that she committed the

  misconduct in association with IA Case Number 2020-010 and was in violation of numerous

  City and Police Department policies and the City Personnel Rules for Classified Service.” See

  Exh. 15, Bates No. City 001240 (5th WHEREAS Clause).

         30.      The Last Chance Agreement specifically references the IA Case. See Exh. 8, ¶

  44; Exh. 10, ¶ 36; Exh. 11, ¶ 38; Exh. 15, Bates No. City 001240.

         31.     The Last Chance Agreement does not reference the 2020 Charge because the

  2020 Charge was not the basis for the Last Chance Agreement, or any future performance of
  4
         Attached as Exhibit 16 is the deposition transcript of then-Chief of Police Richard Clements.

                                                         6
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 7 of 18




  Plaintiff or any future discipline pursuant to the Last Chance Agreement. So, it was specifically

  omitted from reference in the Last Chance Agreement. See Exh. 8, ¶ 45; Exh. 10, ¶¶ 30, 37; Exh.

  11, ¶ 39; Exh. 15, Bates Nos. City 00124 – 001246; Exh. 16, Clements TR:79-80:12-1 (Last

  Chance Agreement was because of the IA Case, not the 2020 Charge); 146-147:7-2.

  The Relationship Between Plaintiff and Lieutenant Cosner

          32.      In approximately 2014, Plaintiff and Lieutenant Cosner, who was at that time the

  rank of Police Officer and then Sergeant, spent time together outside of work. See Exh. 6, Cosner

  TR:20-21:18-17.5

          33.      The nature of the relationship between Plaintiff and Lieutenant Cosner “was

  professional and it was a friendship.”6 They were good friends. See Exh. 6, Cosner TR:24:3-11;

  Exh. 17, Plaint. Vol I TR:50-51:12-6; 60:20-21.

          34.      In approximately 2014, Lieutenant Cosner and Plaintiff did things like go to lunch

  together and he met her parents and grandparents. See Exh. 6, Cosner TR:23-24:20-5.

          35.      Plaintiff introduced Lieutenant Cosner to her parents and grandparents as a friend,

  and he did not believe that he and Plaintiff were anything more than friends or in a formal

  relationship. See Exh. 6, Cosner TR:24:3-11; 33:10-16.

          36.      Into the first quarter of 2015, Plaintiff and Lieutenant Cosner would text each

  other for hours. See Exh. 6, Cosner TR:24-25:18-9.

          37.       The relationship between Plaintiff and Lieutenant Cosner ended in approximately

  2014 - 2015. See Exh. 6:32:12-15; 85:7-11; Exh. 17, Plaint. Vol. I TR:73-74:15-2.




  5
          Steven Cosner is referred to herein as “Lieutenant Cosner” for ease of reference. However, during the time
  of 2014-2015, Lieutenant Cosner was the ranks of Police Officer and then Sergeant. He was promoted to Lieutenant
  in September 2020. See Exh. 6, Cosner TR:9-10:8-7.
  6
          A copy of Volume I of Plaintiff’s deposition transcript is attached as Exhibit 17.

                                                          7
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 8 of 18




         38.      Other than 2017 request from Lieutenant Cosner to Plaintiff for Plaintiff to

  approve an arrest form, between the end of the relationship in 2014-2015 and December 2020,

  Plaintiff and Lieutenant Cosner had no other interactions. See Exh. 17, Plaint. Vol. I TR:73-

  74:15-2.

         39.      During the time referenced on paragraph 39 above, Plaintiff and Lieutenant

  Cosner ignored each other when they saw each other. Exh. 17, Plaint. Vol. I TR:74:3-9.

  Lieutenant Cosner’s Allegations of Employee Misconduct Against Plaintiff

         40.      On or about January 8, 2021, Lieutenant Cosner submitted via email an

  Administrative Action Form (“AAF”) to then-Internal Affairs Commander A.J. Prieto

  (“Commander Prieto”). A copy of the January 21, 2021, email and the AAF are attached as

  Exhibit 18, Plaint. Bates Nos. Vol 2, 150-153; See also Exh. 8, ¶ 47, Exh. D to Exh. 8.

         41.      The AAF contains allegations against Plaintiff that span the evening of December

  27, 2020 through December 28, 2020 at approximately 6:00 a.m. See Exh. 18, Plaint. Bates Nos.

  Vol 2, 151-152.

         42.      In making his allegations against Plaintiff, Lieutenant Cosner used the wrong

  form. He should have used an “Allegation of Employee Misconduct” form. See Exh. 8, ¶¶ 48-49.

         43.      The fact that Lieutenant Cosner used the incorrect form has no bearing on the

  veracity of his allegations against Plaintiff, it appeared it was just an administrative mistake. See

  Exh. 8, ¶ 51.

         44.      The fact that Lieutenant Cosner did not sign the Administrative Action Form is

  equally immaterial. There was no question that Lieutenant Cosner was the one who filled out the

  Administrative Action Form. See Exh. 8, ¶¶ 51-52.




                                                   8
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 9 of 18




         45.      The City corrected the form error and put Lieutenant Cosner’s allegations against

  Plaintiff on an Allegation of Employee Misconduct Form (“AEM”), which is the correct form.

  See Exh. 8, ¶¶ 54-55.7

         46.      The allegations on the Administrative Action Form and the Allegation of

  Employee Misconduct Form are identical. The City merely corrected a paperwork error. See

  Exh. 8, ¶ 57.

         47.      The AEM is not signed. See Exh. 19, Bates Nos. City 001250 – 001251.

         48.      The fact that the AEM is not signed does not impact the validity of the allegations

  contained therein. The AEM does not necessarily have to be signed, it has “happened where the

  officer was unable to sign it.” See Exh. 16, Clements TR:134:4-128; Exh. 20, Flaherty TR:47-

  48:18-6; 49:11-17.

         49.      Essentially, Lieutenant Cosner alleged that Plaintiff was not in her assigned area

  when she was supposed to be, that she failed to give out certain assignments to subordinate

  officers, and then lied to Lieutenant Cosner (her supervisor that evening) about giving out the

  assignments. See Exh. 19, Bates Nos. City 001250 – 001251.

         50.      At the time that Lieutenant Cosner submitted the AAF, i.e. made his allegations

  against Plaintiff, he was not aware of: (1) the 2018 Charge; (2) the 2020 Charge; (3) the fact that

  Plaintiff signed a Settlement Agreement and Last Chance Agreement in December 2020; and (4)

  the fact that Plaintiff was on a Last Chance Agreement. See Exh. 6, Cosner TR:40:5-14; 40-

  41:21-2; 41-42:23-5; 146-147:18-10;9 see also Exh. 21, p. 8, responses to Request No. 34.

         51.      Plaintiff does not have any evidence that Cosner knew about her 2020 EEOC

  Charge or her Last Chance Agreement. See Exh. 17, Plaint. Vol. I TR:109-111:7-18.

  7
         A copy of the AEM is attached as Exhibit 19, Bates Nos. City 001250 – 001251.
  8
         Attached as Exhibit 20 is the deposition transcript of Sergeant Arley Flaherty (“Sergeant Flaherty”).
  9
         Attached as Exhibit 21 is the City’s Responses and Objections to Plaintiff’s Requests for Admissions.

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Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 10 of 18




  The January 19, 2021, Meeting

         52.      In January 2021, Chief Clements was notified about the allegations against

  Plaintiff from Lieutenant Cosner. Because Plaintiff was on a Last Chance Agreement and thus,

  an employee at will, based on Lieutenant Cosner’s allegations, Chief Clements could have

  implemented Plaintiff’s Resignation without speaking to Plaintiff. See DE 1, ¶ 27; Exh. 8, ¶ 43;

  Exh. 10, ¶¶ 35, 38-43; Exh. 11, ¶¶ 37, 41; Exh. 16, Clements TR:96:1-7; 98-99:25-1; Exh. 20,

  Flaherty TR:31:8-14; 32:3-5; 40:1-6.

         53.      Despite not having to hold any meeting, on January 19, 2021, Chief Clements

  held a meeting with Plaintiff and the following individuals: (1) Wayne Jones (then Assistant

  Chief of Police); (2) Lieutenant Paul Ozaeta (then President of the FOP); (3) Sergeant Arley

  Flaherty, (then FOP First Vice President); (4) Sergeant Reggie Lester, (then FOP Second Vice

  President); (5) then-Lieutenant Delvin Brown, (then FOP Grievance Chairman); (6) Commander

  A.J. Prieto (then Commander of IA); and (7) Lieutenant Steven Cosner. See Exh. 8, ¶ 58; Exh.

  11, ¶ 44; Exh. 16, Clements TR:93:8-18; 10 Exh. 22, Plaint. Vol. II TR:152:13-20; 154:1-10; Exh.

  20, Flaherty TR:34:13-24; 40:1-6.

         54.      Prior to the meeting, Chief Clements believed he had enough information to

  implement Plaintiff’s Resignation. However, Chief Clements held the meeting to allow Plaintiff

  to address the concerns and see if there was something the City didn’t consider. See Exh. 6,

  Clements TR:96:5-7; 96:15-19; 97:1-10; 98-99:22-3; 146:1-5; Exh. 10, ¶ 44; Exh. 11, ¶ 43.

         55.      At the meeting, Plaintiff was represented by the FOP’s entire Executive Board,

  i.e. her union’s entire leadership. See Exh. 6, Cosner TR:45:15-20; Exh. 8, ¶¶ 58, 61-63; Exh. 11,




  10
         A copy of Volume II of Plaintiff’s deposition transcript is attached as Exhibit 22.

                                                         10
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 11 of 18




  ¶¶ 44, 47-48; Exh. 16, Clements TR:93:6-18; Exh. 20, Flaherty TR:27-28:24-19; 34:13-21;

  35:21-23; 37:15-20;11 Exh. 23, Ozaeta TR:16:5-16.

          56.      At no point during the meeting did Plaintiff or any of Plaintiff’s four (4) union

  representative representatives (the top officials in the FOP) request an attorney be present, allege

  that the City was violating Florida Statute § 112.532, or invoke the provisions of Florida Statute

  § 112.534. See Exh. 8, ¶¶ 59, 61-65; Exh. 11, ¶¶ 45, 47-50; Exh. 16, Clements TR:93:19-24;

  144-145:13-8; Exh. 20, Flaherty Dep. TR:35-36:24-1; 39-41:2-3; Exh. 23, Ozaeta TR:36-37:12-

  14; 49:20-24; 67:23-25;12 Exh. 24, Lester TR:46:8-14.

          57.      President Ozaeta re-affirmed that: (1) the union and its attorney reviewed and

  blessed Plaintiff’s Settlement Agreement and Last Chance Agreement; (2) because of the Last

  Chance Agreement, Chief Clements could have implemented the Resignation without having the

  January 2021 meeting; (3) Chief Clements held the meeting as a courtesy because he wanted to

  hear what Plaintiff had to say; and (4) because of the Last Chance Agreement, the City did not

  have to conduct an investigation into the allegations against Plaintiff. See Exh. 23, Ozaeta

  TR:19-21:7-10; 28-30:5-1; 31-32:5-3; 41:10-12; 48:13-22; 48-49:23-1; 65:12-19; 67:13-19;

  70:8-11; 70:12-14.

          58.        Had Plaintiff or any of her representatives requested an attorney during the

  January 2021, invoked the provisions of Florida Statute § 112.534, or even implied that there

  was something improper about the January 19, 2021, meeting the meeting would have been

  stopped. See Exh. 8, ¶¶ 60, 66; Exh. 11, ¶ 46; Exh. 16, Clements TR:144:13-24; Exh. 20,

  Flaherty TR:39-41:2-3.


  11
           Attached as Exhibit 23 is the deposition transcript of Lieutenant Paul Ozaeta (“President Ozaeta”) who at
  the time of the January 2021 meeting was the President of the FOP. See Exh. 23, Ozaeta TR:8-9:3-1.
  12
           Attached as Exhibit 24 is the deposition transcript of Sergeant Reggie Lester who, at the time of the
  January Meeting was the FOP Second Vice President. See Exh. 24, Lester TR:11:6-8.

                                                         11
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 12 of 18




          59.      At the January 19, 2021, meeting, Plaintiff stated that the reason she was at the

  main police station so long during her December 27-28, 2020, shift was that she was working on

  Officer Stella’s evaluation. See Exh. 8, ¶ 70.

          60.      Commander Prieto determined, based on information provided by the City’s IT

  Department, that Officer Stella’s evaluation was not even created on Plaintiff’s computer until

  January 10, 2021. See Exh. 8, ¶ 71.

          61.      Commander Prieto documented his finding in an email that he sent to Chief

  Clements on January 25, 2021. See Exh. 8, ¶ 72; see also Exh. G to Exh. 8, Plaintiff’s Bates Nos.

  Vol. 2 168 – 170.13

          62.      Commander Prieto prepared a PowerPoint regarding his findings as to the overall

  allegations against Plaintiff, which he provided to Chief Clements. See Exh. 8, ¶¶ 73-74, see also

  Exh. H to Exh. 8, Plaintiff’s Bates Nos. Vol. 2 158 – 167.14

  Implementing Plaintiff’s Resignation

          63.      On January 25, 2021, Chief Clements, who was the decision-maker, implemented

  Plaintiff’s Resignation. A copy of the January 25, 2021, Memorandum from Chief Clements to

  Plaintiff is attached as Exhibit 27, Bates Nos. City 001253 – 001267.15 See also Exh. 6, Cosner

  TR:42-43:19-2; Exh. 8, ¶ 75; Exh. 10, ¶ 45; Exh. 11, ¶ 51; Exh. 16, Clements TR:98-99:22-3;

  99-100:16-1 Exh. 28, p. 6, Answer to Rog No. 4.

          64.      The reasons Chief Clements implemented Plaintiff’s Resignation are detailed in

  the letter to Plaintiff dated January 25, 2021, which also accurately memorializes what happened




  13
           The January 25, 2021, email, and attachment, which is Exh. G to Exh. 8, is also attached as Exhibit 25.
  14
           The PowerPoint which is Exh. G to Exh. 8, is also attached as Exhibit 26.
  15
           Attached as Exhibit 28 are the City’s Verified Answers and Objections to Plaintiff’s Second Set of
  Interrogatories, which are sworn to by Chief Clements. See Exh. 28, p. 3, Answer to Rog. No. 1, p. 11, Verification
  Page.

                                                          12
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 13 of 18




  at the January 19, 2021, meeting. See Exh. 8, ¶¶ 78-79; Exh. 10. ¶ 48; Exh. 11, ¶¶ 54-55; Exh.

  16, Clements TR:97-98:1-4 Exh. 28, p. 6, Answer to Rog No. 4.

          65.     Chief Clements did not consider Plaintiff’s 2020 Charge or any complaints of

  harassment when implementing Plaintiff’s Resignation. See Exh. 8, ¶¶ 76-78; Exh. 10, ¶¶ 46-

  49;16 Exh. 11, ¶¶ 52-54, 56;17 Exh. 16, Clements TR:99-100:16-1; 146-147:11-2; Exh. 20,

  Flaherty TR:43:1-24; 45-46:22-1; Exh. 23, Ozaeta TR:43-44:10-9.

          66.     Lieutenant Cosner was not a decision-maker regarding Plaintiff and was not

  consulted about implementing Plaintiff’s Resignation. See Exh. 6, Cosner TR:17:3-5; 42-43:19-

  2; 43:13-15; 147:11-24; Exh. 8, ¶¶ 81-82; Exh. 10, ¶¶ 51-52; Exh. 11, 58-59.

  The Decision to Implement the Resignation is Not Reviewable

          67.     Pursuant to paragraph 4 of the Last Chance Agreement, the decision of the Chief

  Clements is not subject to review or explanation. See Exh. 15, Bates No. City 001241, ¶ 4.

          68.     Paragraph eleven (11) of the Last Chance Agreement states if Charging Party

  commits any of the violations referenced in paragraph four (4), “her resignation shall be

  effective, without the right to grieve or otherwise contest, in any manner, her separation. See

  Exh. 15, Bates No. City 001243, ¶ 11.

          69.     Paragraph twelve (12) of the Last Chance Agreement states that if Plaintiff is

  separated pursuant to the Last Chance Agreement, she further waives the right to challenge or

  appeal her separation pursuant to any administrative or statutory avenue that may exist. See id. at

  ¶ 12.



  16
          Then Director of Human Resources Mike Smith participated in discussion with Chief Clements about
  implementing Plaintiff’s Resignation and in so doing, he did not consider the 2020 Charge or any complaints of
  harassment from Plaintiff. See Exh. 10, ¶¶ 46, 50.
  17
          Then Assistant Chief of Police Wayne Jones participated in discussion with Chief Clements about
  implementing Plaintiff’s Resignation and in so doing, he did not consider the 2020 Charge or any complaints of
  harassment from Plaintiff. See Exh. 11, ¶ 52, 57.

                                                       13
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 14 of 18




  Plaintiff’s Union Did Not Challenge Implementation of Her Resignation.

          70.      The FOP (Plaintiff’s Union) did not challenge the City implementing Plaintiff’s

  Resignation because there was no basis to do so. See Exh. 13, Gibbons TR:23:1-13;18 Exh. 20,

  Flaherty TR:44-45:3-21; Exh. 23, Ozaeta TR:44-45:1-21; 50:14-22; 56:15-17.

  Last Chance Agreements In General At the City

          71.      During Plaintiff’s employment with the City, last chance agreements were not

  rare. See Exh. 10, ¶ 59;19 Exh. 30, ¶¶ 43-44. Between 2015 – 2024, there have been forty-two

  (42) last chance agreements at the City. See Exh. 30, ¶¶ 45-47, see also Exh. C to Exh. 30, Bates

  Nos. City 001955 – 001956.

          72.      The City frequently proposes/uses last chance agreements, which are always the

  product of negotiation between the City, the employee and the employee’s union, the City cannot

  impose last chance agreements. See Exh. 10, ¶¶ 55-56, 58, 60; Exh. 30, ¶¶ 40-42, 44.

  The Testimony of Nicholas Guasto (“N. Guasto”)

          73.      N. Guasto is Plaintiff’s ex-husband and currently a Police Officer with the City.20

  See Exh. 31, N. Guasto TR:7-8:19-3; 9:4-15.

          74.      Chief Clements never told N. Guasto that he was going to fire Plaintiff because of

  her 2020 Charge. See id. TR:58:10-19; 63:9-14.

          75.      Chief Clements wanted resolution of the 2020 Charge that included dismissal of

  the 2020 Charge and that’s what ultimately happened. See id. TR:58-59:20-4.




  18
            On February 19, 2021, Plaintiff, through her third attorney John Cunill, Esq., filed a labor grievance with
  the City. A copy of the grievance is attached as Exhibit 29. This grievance was not filed by the FOP, and the City
  did not process the grievance. See Exh. 22, Plaint. Vol. II TR:156:10-16; 162:9-17
  19
            Attached as Exhibit 30 is the Declaration of current Director of Human Resources Marla Alpizar. During
  Plaintiff’s employment Ms. Alpizar was the Assistant Director of Human Resources. See Exh. 30, ¶ 8.
  20
            Nicholas Guasto’s deposition transcript is attached as Exhibit 31.

                                                          14
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 15 of 18




           76.      N. Guasto never had any conversation with Chief Clements or any other decision-

  maker at the City about Plaintiff after Plaintiff entered into her December 2020 Settlement

  Agreement and Last Chance Agreement. See id. TR:59:5-9.

           77.      N. Guasto was not involved, in any way, in the decision to implement Plaintiff’s

  Resignation. He does not have firsthand knowledge of why the City implemented Plaintiff’s

  Resignation. See id. TR:63:3-8; 63-64:23-1.

  Plaintiff’s Protected Activity and Connection to Cosner’s Allegations

           78.      Plaintiff’s protected activity is her 2020 Charge.21 See Exh. 17, Plaint. Vol. I

  TR:105-107:15-22; Exh. 22, Plaint. Vol II TR:148-149:4-6;22 Exh. 32, Plaint. Vol. III TR:184-

  186:23-3.

           79.      On June 22, 2021, in advance of this lawsuit, Plaintiff filed an EEOC Charge

  (“2021 Charge”). The 2021 Charge is at DE 1-1.

           80.      Therein, on page 2, Plaintiff alleges that she “was terminated for engaging in a

  protected activity, filing the 2020 charge of discrimination and retaliation against RP.” See DE 1-

  1, p. 2. Plaintiff testified that she does not know what the phrase “and retaliation agaist RP”

  means. See Exh. 32, Plaint. Vol. III TR:185-186:10-3.

           81.      When asked to connect her 2020 Charge with her January 2021 termination,

  Plaintiff testified: “Okay. So I know that I filed a EEOC charge. And then, I was retaliated

  against for filing that EEOC charge. And then, I was retaliated against for filing that EEOC --

  EEOC charge. And then, I suffered an adverse employment action by being terminated for filing

  that EEOC charge.” See Exh. 32, Plaint. Vol. III TR:221-222:14-9.



  21
          Plaintiff testified that Lieutenant Cosner is not part of Plaintiff’s 2020 Charge. See Exh. 17, Plaint. Vol. I
  TR:105:8-14; 107:16-22.
  22
          A copy of Volume III of Plaintiff’s deposition transcript is attached as Exhibit 32.

                                                           15
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 16 of 18




         82.     When asked to clarify, Plaintiff testified: “by being falsely accused of these

  allegations that led to this adverse employment action. And I was terminated.” When asked to

  clarify again, Plaintiff testified: “I -- I don't understand your question. I -- all I know is that the

  way I answered it, that's my answer. And that's as good of an answer that I have right now. I'm

  sorry.” See Exh. 32, Plaint. Vol. III TR:222-223:10-7.

         83.     The false allegations to which Plaintiff is referring are the allegations from

  Lieutenant Cosner. See DE 1, ¶¶ 42-45; DE 1-1, p. 2; Exh. 32. Plaint. Vol. III TR:187-189:3-2

  (Plaintiff affirmatively stating that Lieutenant Cosner retaliated against her for filing her 2020

  Charge).

         84.     In alleging that the allegations from Lieutenant Cosner are false, Plaintiff testified

  that as to most of the allegation, she does not know if they are false, and she did not do any

  investigation into such prior to filing her lawsuit. See Exh. 32, Plaint. Vol. III TR:189-203:11-14;

  207-213:12-20.

         85.     When asked “[b]ut sitting here today after you filed your lawsuit in federal court

  claiming it's all false, you don't know?” Plaintiff testified: “I don’t’ know.” See Exh. 32, Plaint.

  Vol. III TR:213:17-20.




                                                    16
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 17 of 18




  Dated: June 3, 2024.

                                     Respectfully submitted,

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                                       17
Case 1:22-cv-21004-MD Document 69 Entered on FLSD Docket 06/03/2024 Page 18 of 18




                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 3, 2024, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record or pro se parties identified on the attached
  Service List in the manner specified, either via transmission of Notices of Electronic Filing
  generated by CM/ECF or in some other authorized manner for those counsel or parties who are
  not authorized to receive electronically Notices of Electronic Filing.

                                             s/Michael L. Elkins
                                             Michael L. Elkins

                                        SERVICE LIST

                                 CASE NO.: 1:22-cv-21004-MD

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                                               18
